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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                        :
vs.                                             :     CRIMINAL NO. 3:21-cr-31 (JCH)
DONNA MONTICONE                                 :     May 24, 2021


      DEFENDANT’S SUPPLEMENTAL MEMORANDUM IN AID OF SENTENCING
       Ms. Monticone submits this brief supplement to her Memorandum in Aid of Sentencing,

which was filed on May 12, 2021. See ECF No. 20. Ms. Monticone submits this supplement to

provide additional information relative to her sentencing hearing on May 25, 2021.

I.     PERSONAL HISTORY AND CHARACTERISTICS: THE IMPACT OF MS.
       MONTICONE’S ADDICTION ON THE INSTANT OFFENSE CONDUCT.

       Ms. Monticone has been engaged in regular counseling with her therapist, Susan Boritz, who

is a licensed alcohol and drug counselor (LADC). Ms. Bortiz’s assessment of her diagnosis, the

course of her addiction, and her observations about Ms. Monticone’s commitment to sobriety are

detailed in the attached letter, which is filed under seal as Exhibit H.

II.    RESTITUTION

       Ms. Monticone agrees that the Court should enter an order of restitution in the amount of

$637.56, payable to the crime victims’ fund. Based on undersigned counsel’s conversations with

counsel for the Government, Ms. Monticone cannot make a payment toward this amount until the

restitution is ordered by the Court because the payment will be directed to a fund rather than to an

individual. Ms. Monticone is prepared to pay the restitution in full on the day of sentencing once the

order has been entered by the Court.
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                                               Respectfully submitted,

                                               THE DEFENDANT,
                                               Donna Monticone

                                               OFFICE OF THE FEDERAL DEFENDER

Dated: May 24, 2021                             /s/ Allison M. Near
                                               Allison M. Near
                                               Assistant Federal Defender
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                                               New Haven, CT 06510
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 24, 2021, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent to
all parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing through
the Court’s CM/ECF System.

                                                       /s/ Allison M. Near
                                                       Allison M. Near




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